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EXHIBIT
A
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SUMMONS
Rule 4 1970 Ohio Rules of Civil Procedure
Court of Common Pleas, Medina County, 93 Public Square, Medina, OH 44256

Case #: 19CIV1060
To the following:

YOUQUAN WU
8585 FOUNDERS GROVE COURT
CHINO, CA 91708

You have been named as defendant in a complaint filed in the Medina County Court of
Common Pleas by the following plaintiff: DEVIN NICOL

A COPY OF THE COMPLAINT IS ATTACHED HERETO

You are hereby summoned and required to serve upon the plaintiff's attorney, or upon the
plaintiff if he has no attorney of record, a copy of your answer to this complaint within
twenty-eight (28) days after the service of this summons upon you, excluding the date of
service. Your answer must be filed with the court within three (3) days after the service
of a copy of the answer on the plaintiff's attorney, or upon the plaintiff if there is no
attorney of record.

The name and address of the plaintiff's attomey is as follows:

J PIERRE TISMO .

DYER GAROFALO MANN & SCHULTZ
131 N LUDLOW STREET STE 1400
DAYTON, OH 45402

Failure to appear and present a defense to this complaint will result in a judgment by
default being rendered against you for the relief demanded in the complaint.

DAVID B. WADSWORTH
, Clerk of Courts
11/4/2019

By: AP, Deputy Clerk

 
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COMMON PLEAS COURT
M19 CCT 30 PH 2:37

FILED
DAVID 8, WADSWORTH
MEDIRA COUNTY
CLERK OF COURTS

IN THE COMMON PLEAS COURT OF MEDINA COUNTY, OHIO

Devin Nicol
10N. Limestone Street

Jamestown, OH 45335

And
Jeannie Nicol
10 N. Limestone Street
Jamestown, OH 45335

| Plaintiffs.
¥s,
Tinyu Transportation, Inc.
939 Whitecliff Drive,
Diamond Bar, CA 91765
And
Youquan Wa
8585 Founders Grove Court
Chino, CA 91708
And
Geico Insurance Company
One Geico Center
Macon, GA 31296

And

USAA Insurance Company
9800 Fredericksburg Road
San Antonio, TX 78288

Defendants.

CIVIL DIVISION

CASE NO. igc I VIO0O6 0

ER J. COLLIER, JUDGE
JUDGE: CHRISTOPH

COMPLAINT FOR PERSONAL
INJURIES WITH JURY BEMAND .
ENDORSED HEREON

 
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FIRST CLAIM FOR RELIEF

1. On or about November 06,2017, Plaintiff, Devin Nicol, (hereafter “Plaintiff Devin”),

was operating his motor vehicle which Jeannie Nico! (hereafter “Plaintiff Jeannie”) was a

passenger in, traveling in a northbound direction on Interstate 71, in the Township of
Guilford, Medina County, Ohio, when Defendant, Youquan Wu (hereafter “Defendant

Wu”), an uninsured/underinsured motorist, who was operating a semi-truck with trailer in

the scope and course of his employment, traveling in a northbound direction on Interstate
71, negligently failed to maintain an assured clear distance from the Plaintiffs motor
vehicle, thereby rear-ending the Plaintifis’ vehicle and ultimately separating the
Pigintiffs’ trailer from their vehicle. ,

2. Atall times, Defendant, Tinyu Transportation, Inc. (hereafter “Defendant Tinya”),
negligently entrusted the vehicle to Defendant Wu, an inexperienced and incompetent
driver, and/or was acting on his/her behalf as principal agent, and therefore is liable
vicariously.

3. Atall relevant times, Defendant Wu was in the employ of Defendant, Tinyu and was
acting as an agent of Defendant, Tinyu., at the time of the accident.

4. Defendant Tinyu as principal is vicariously liable for Defendant Wu.

5. Atall relevant times, Defendant Tinyu, negligently hired and/or retained and/or
supervised and/or failed to properly train Defendant Wu.

6. Atall relevant times, Defendant, Tinyu, was negligent per se for violations of Federal
Motor Vehicle Carrier Regulations, including, but not limited to: failing to follow the
regulations by its hiring of an incompetent driver; by its retention of an incompetent
driver; by its failure to supervise its driver; and by its failure to properly train its driver.

7. Defendant Tinyu’s actions were done with actual malice in a wanton, and reckless
manner evidencing a conscious disregard for the rights and safety of other persons and
having a great probability of causing substantial harm.

8 Defendant Wu's actions were done with actual malice in a wanton, and reckless manner
evidencing a conscious disregard for the tights and safety of other persons and having a
great probability of causing substantial harm.

9, As the proximate result of the negligence of Defendants, Tinyu and Wu, Plaintiff Devin
Nicol sustained injuries and damages as follows:

4. Severe and permanent injuries with substantial physical deformity
and loss of use;

b, Great pain and suffering, both physical and emotional, and loss of
ability to perform usual functions and the injuries will cause
further pain and suffering and loss of ability to perform usual
functions in the future;
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c. Reasonable and necessary medical expenses in excess of

$17,703.85, as well as further medical expenses to be. incurred in

the future;
a Past and foture lost wages and/or destruction of potential earning capacity;
& Miscellaneous out of pocket expenses in an amount yet to be determined;

f Property damage.

10, As the proximate result of the negligence of Defendant Tinyu and Wu, Plaintiff Jeannie
Nicol sustained injuries and damages as follows:

a, Severe and permanent injuries with substantial physical deformity
and loss of use;

db. Great pain and suffering, both physical and emotional, and loss of
ability to perform usual functions and the injuries will cause

further pain and suffering and loss of ability to perform usual
functions in the future;

c, Reasonable and necessary medical expenses in excess of

$18,222.00 as well as further medical expenses to be incurred in

the future;
d. Past and future Jost wages and/or destruction of potential earning capacity;
e. Miscellaneous out of pocket expenses in an amount yet to be determined.

£. Property damage.

11, The aforesaid negligence and recklessness of Defendants Tinyu and Wu was the
direct and proximate cause of the injuries and damages to Plaintiffs.

WHEREFORE, Plaintiffs, Devin Nicol and Jeannie Nicol, demand judgment against the
Defendants, Tinyu and Wu, in an amount in excess of $25,000.00, punitive damages in excess of
$25,000.00, plus interest and the cost of this action. ,

SECOND CLAIM FOR RELIEF

12. Plaintiffs incorporate each and every allegation contained in the First Claim for
Relief as though fully rewritten herein.

13. Plaintiff, Jeannie Nicol, is the wife of Plaintiff, Devin Nicol.
- 14. Asa proximate result of the occurrence as set forth in the First Claim for Relief,

- Plaintiff, Jeannie Nicol, has lost the services, society, companionship, comfort, love and solace
of her husband, Plaintiff, Devin Nicol. .
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COPY.

15, The aforesaid negligence of Defendants, Tinyu and Wu, was the direct and
proximate cause of the injuries and damages fo Plaintiffs.

WHEREFORE, Plaintiffs, Devin Nico! and Jeannie Nicol, demand judgment against the
Defendants, Tinyu and Wu, jointly and severally, in an amount in excess of $25,000.00, plus
interest and the costs of this action.

THIRD CLAIM FOR RELIEF

16. Plaintiffs incorporate each and every allegation contained in the First and Second
Claims for Relief as though fully rewritten herein.

17. Plaintiff, Devin Nicol, is the husband of Plaintiff, Jeannie Nicol.

18. Asa proximate result of the occurrence as set forth in the First Claim for Relief,
Plaintiff, Devin Nicol, has lost the services, society, companionship, comfort, love and solace of
his wife, Plaintiff, Jeannie Nicol.

19. The aforesaid negligence of Defendants, Tinyu and Wu, was the direct and
proximate cause of the injuries and damages to Plaintiffs.

WHEREFORE, Plaintiffs, Devin Nicol and Jeannie Nico!, demand judgment against the
Defendants, Tinyu and Wu, jointly and severally, in an amount in excess of $25,000.00, plus
interest and the costs of this action.

FOURTH CLAIM FOR RELIEF

_ 20, Plaintiffs incorporate each and every allegation contained in the First, Second,
and Third Claims for Relief as though fully rewritten herein.

21. Plaintiffs, Devin Nicol and Jeannie Nicol, bring this action for
uninsured/underinsured motorist coverage, pursuant to Section 3937.18 Revised Code and for
Declaratory Judgment pursuant to Sections 2721.01 through 2721.15 Revised Code.

22. Defendant, Geico Insurance Company, is a corporation authorized to do the
business of insurance within the County of Medina, State of Ohio.

23. On November 6, 2017 Plaintiff was injured and received damages as a result of
the negligence of Defendant, Geico Insurance Company, an uninsured/underinsured motorist, as
set forth in the First Claim for Relief.

24. On November 6, 2017 Plaintiff was insured under a policy of automobile
insurance which contained uninsured/underinsured motorist coverage. Plaintiff is not in
possession of a complete copy of said policy.

25, Plaintiffs have made a claim for uninsured/underinsured motorist coverage under
Defendant, Geico Insurance Company’s, policy of mmsurance.
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26. Plaintiffs have cooperated with Defendant, Geico Insurance Company, with
respect to the claim for uninsured/underinsured motorist coverage and have complied with all
applicable terms and conditions of Defendant, Geico Insurance Company’s automobile policy of
insurance.

27. Plaintiff has demanded payment of underinsured motorists coverage pursuant fo
Defendant, Geico Insurance Company’ s automobile liability policy of insurance and/or general
liability insurance policy as a result of Plaintiff's injuries and damages as referred to in
Paragraph 2, but Plaintiff and Defendant, Geico Insurance Company have not been able to agree
as to whether Plaintiff is legaily entitled to recover damages or the amount of damages pursuant
to conditions of the underinsured motorist provision of Defendant, Geico Insurance Company's
automobile liability policy of insurance and/or general liability insurance policy.

28. Defendant, Geico Insurance Company has failed and refuses to make payment
under the terms of the under insured motorist provisions of its automobile liability policy of -
insurance and/or general liability insurance policy.

WHEREFORE, Plaintiffs, Devin Nicol and Jeannie Nicol, demand judgment against
Defendant, Geico Insurance Company in an amount in excess of $25,000.00, in accordance with
the terms and conditions of Plaintiff's policy of insurance with this Defendant and O.R.C.
§2721.01 through 2721.15 and §3937.18 together with pre-judgment interest and the cost of this
action.

FIFTH CLAIM FOR RELIEF

29. Plaintiffs incorporate each and every allegation contained in the First, Second,
Third, and Fourth Claims for Relief as though fully rewritten herein.

30, Plaintiffs, Devin Nicol and Jeannie Nicol, bring this action for
uninsured/underinsured motorist coverage, pursuant to Section 3937.18 Revised Code and for
Declaratory Judgment pursuant to Sections 2721.01 through 2721 .15 Revised Code,

31. Defendant, USAA Insurance Company, is a corporation authorized to do the
business of insurance within the County of Medina, State of Ohio. -

32. On November 6, 2017 Plaintiff was injured and received damages as a result of
the negligence of Defendant, USAA Insurance Company, an uninsured/underinsured motorist, as
' set forth in the First Claim for Relief.

33. On November 6, 2017 Plaintiff was insured under a policy of automobile
insurance which contained uninsured/underinsured motorist coverage. Plaintiff is not in
possession of a complete copy of said policy.

. 34, Plaintiffs have made a claim for uninsured/underinsured motorist coverage under
Defendant, USAA Insurance Company’s, policy of insurance.
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35, Plaintiffs have cooperated with Defendant, USAA Insurance Company, with
respect to the claim for uninsured/underinsured motorist coverage and have complied with all
applicable terms and conditions of Defendant, USAA Insurance Company’s automobile policy of

36. Plaintiffs have demanded payment of underinsured motorists coverage pursuant to
Defendant, USAA Insurance Company's automobile lability policy of insurance and/or general
liability insurance policy as a result of Plaintiff's injuries and damages as referred to in
Paragraph 2, but Plaintiff and Defendant, USAA Insurance Company have not been able to agree
as to whether Plaintiff is legally entitled to recover damages or the ammount of damages pursuant
to conditions of the underinsured motorist provision of Defendant, USAA Insurance Company’s
automobile liability policy of insurance and/or general liability insurance policy.

37. Defendant, USAA Insurance Company has failed and refuses to make payment
under the terms of the under insured motorist provisions of its automobile lability policy of
insurance and/or general Hability insurance policy.

WHEREFORE, Plaintiffs, Devin Nicol and Jeannie Nicol, demand judgment against
Defendant, USAA Insurance Company in an amount in excess of $25,000.00, in accordance with
the terms and conditions of Plaintiff's policy of insurance with this Defendant and O.R.C.
§2721.01 through 2721.15 and §3937.18 to gether with pre-judgment interest and the cost of this
action.

SIXTH CLAIM FOR RELIEF

 

38. Plaintiffs incorporate each and every allegation contained in the First, Second,
Third, Fourth, and Fifth Claims for Relief as though fully rewritten herein.

39. Plaintiffs bring this action for medical payments coverage, pursuant to Section
3937.18 Revised Code and for Declaratory Judgment pursuant to Sections 2721.01 through
2721.15 Revised Code.

40, Defendant, USAA Insurance Company, is a corporation authorized to do the
business of insurance within the County of Medina, State of Ohio.

4i1. On November 6, 2017, Plaintiffs were injured and received damages as a result of
the negligence of Defendant Youquan Wu, an uninsured/underinsured motorist, as set forth in
the First Claim for Relief.

42. Qn November 6, 2017, Plaintiffs were insured under a policy of automobile
insurance which contained medical payments coverage. Plaintiffs are not in possession of a
complete copy of said policy.

43. Plaintiffs have made a claim for medical payments coverage under Defendant
USAA Insurance Company’s policy of insurance.

44, Plaintiffs have cooperated with Defendant with respect to the claim for medical
payments coverage and has complied with all applicable terms and conditions of Defendant
USAA Insurance Company’s automobile policy of insurance.
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45. Plaintiffs have demanded payment of medical payments coverage pursuant to
Defendant Insurance Company’ automobile liability policy of insurance and/or general liability

" insurance policy as a result of Plaintiffs’ injuries and damages as referred to in Paragraphs 9 and

10, but Plaintiffs and Defendant USAA Insurance Company have not been able to agree as to

whether Plaintiff is legally entitled to recover damages or the amount of damages pursuant to
conditions of the medical payments provision of Defendant USAA Insurance Compary’s
automobile liability policy of insurance and/or general liability insurance policy.

46. Defendant USAA Insurance Company has failed and refuses to make payment
under the terms of the medical payment provisions of its automobile liability policy of msurance
and/or general liability insurance policy.

WHEREFORE, Plaintiffs, Devin Nicol and Jeannie Nicol, demand judgment against
Defendant, USAA Insurance Company in an amount in excess of $25,000.00, in accordance with
the terms and conditions of Plaintiff's policy of insurance with this Defendant and O.R.C.
§2721.01 through 2721.15 and §3937.18 together with pre-judgment interest and the cost of this

action.
SEVENTH CLAIM FOR RELIEF

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47. Plaintiffs incorporate each and every allegation contained in the First, Second,
Third, Fourth, Fifth, and Sixth Claims for Relief as though fully rewritten herein.

48. Defendant USAA Insurance Company may have a subrogation claim in this
matter by virtue of funds paid on behalf of the Plaintiffs pursuant to the medical payments
coverage of the automobile insurance policy.

49. As aresult, Defendant, USAA Insurance Company, may have a vested interest in
the within action as a result of its claim to subrogation, if one so exists.

50. Defendant, USAA Insurance Company, is being joined in this action to defend
and protect its claim of subrogation, if onc so exists.

WHEREFORE, Plaintiffs, Devin Nico] and Jeannie Nicol, demands that Defendant,
USAA Insurance Company, appear and represent its interests in this matter or be forever barred
from pursuing its claim of subrogation, if one so exists.

FIGHTH CLAIM FOR RELIEF

51, Plaintiffs incorporate each and every allegation contained in the First, Second,
Third, Fourth, Fifth. Sixth, and Seventh Claims for Relief as though fully rewritten herein. —

52. Defendant, Humana may have paid medical expenses on behalf of Plaintiff in

~ gonnection with the injuries as set forth in the First Claim for Relief.

53. As aresult, Defendant, Humana may have a vested interest in the within action as
a result of its claim of subrogation, if one so exists. ,

54. Defendant, Humana is being joined in this action to defend and protect its claim
of subrogation, if one so exists.
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WHEREFORE, Plaintiff, Devin Nicol, demands that Defendant, Humana, appear and
represent its interest in the within action or be forever barred from pursuing its subrogation -
claim, if one so exists.

NINTH_CLAIM FOR RELIEF
55. Plaintiffs incorporate each and every allegation contained in the First, Second,
Third, Fourth, Fifth, Sixth, Seventh, and Eighth Claims for Relief as though fully rewritten .

herein.

56. Defendant, Anthem Blue Cross and Blue Shield may have paid medical expenses

"on behalf of Plaintiff in comnection with the injuries as set forth in the First Claim for Relief.

57.  Asaresult, Defendant, Anthem Blue Cross and Blue Shield may have a vested
interest in the within action as a result of its claim of subrogation, if one so exists.

58. Defendant, Anthem Blue Cross and Blue Shield is being joined in this action to
defend and protect its claim of subrogation, if one so exists.

WHEREFORE, Plaintiff, Jeannie Nicol, demands that Defendant, Anthem Blue Cross
and Blue Shield, appear and represent its interest in the within action or be forever barred from
pursuing its subrogation claim, if one so exists.

Respectfully submitted,

  
 

& SCHULTZ

/ Pierre Tismp, Esq. (0067924)
Austin H. LiPuma, Esq. (0095750)
Attorneys for Plaintiffs
131 N. Ludlow Street, Suite 1400
Dayton, Ohio 45402 -

Phone: (937) 223-8888

Fax: (937) 824-8630

Email: ptismo@dgmslaw.com
Email: alippma@demslaw.com

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JURY DEMAND

Now comes Plaintiff, by and through counsel, and hereby demands a trial by jury on all
issues of this matter.

Respectfully submitted,

DYER, GAROFALO, MANN & CHULTZ

/ Pierre Tismo, Esq. (0067924)
Austin H. LiPuma, Esq. (0095750)
Attorneys for Plaintiffs
131 N. Ludlow Street, Suite 1400
Dayton, Obio 45402
Phone: (937) 223-8888
Fax: (937) 824-8630 .
Email: ptismo@dgmslaw.com
Email: alipyma@dgmslaw.com
